476 F.2d 981
    CARLEEN F, INCORPORATED, et al., Plaintiffs-Appellees,v.UNITED STATES of America, Defendant-Appellant.
    No. 71-3377.
    United States Court of Appeals,Fifth Circuit.
    Feb. 27, 1973.
    
      Scott P. Crampton, Asst. Atty. Gen., Meyer Rothwacks, Tax Div., Dept. of Justice, Washington, D. C., Anthony J. P. Farris, U. S. Atty., James R. Gough, Asst. U. S. Atty., Houston, Tex., Michael D. Cropper, Issie L. Jenkins, Attys., Tax Div., Dept. of Justice, Washington, D. C., for defendant-appellant.
      Eli Mayfield, Palacios, Tex., Joseph Lyman, Washington, D. C., for plaintiffs-appellees.
      Before JOHN R. BROWN, Chief Judge, and GODBOLD and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      This case is substantially the same as, and controlled by, Bishop v. United States, 5 Cir., 1973, 476 F.2d 977.
    
    
      2
      Reversed.
    
    